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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )          Case No. 4:08CR3148-7
                         Plaintiff,            )
                                               )
       vs.                                     )          TENTATIVE
                                               )          FINDINGS
JEFF L. MOATS,                                 )
                                               )
                         Defendant.            )

       I am in receipt of the revised presentence investigation report and addendum in
this case. Except for the defendant’s objection, there are no objections or motions for
departure or variance.

       IT IS ORDERED that:

        (1) The undersigned will consult and follow the Guidelines to the extent
permitted and required by United States v. Booker, 543 U.S. 220(2005) and subsequent
cases. See, e.g., Gall v. U.S., --- S.Ct. ----, 2007 WL 4292116 (2007). In this regard,
the undersigned gives notice that, unless otherwise ordered, he will (a) give the advisory
Guidelines such weight as they deserve within the context of each individual case and
will filter the Guidelines' general advice through §3553(a)'s list of factors1; (b) resolve
all factual disputes relevant to sentencing by the greater weight of the evidence and
without the aid of a jury; (c) impose upon the government the burden of proof on all
Guideline-enhancements; (d) impose upon the defendant the burden of proof on all
Guideline-mitigators; (e) depart from the advisory Guidelines, if appropriate, using pre-
Booker departure theory; and (f) in cases where a departure using pre-Booker departure
theory is not warranted, deviate or vary from the Guidelines when there is a principled
reason which justifies a sentence different than that called for by application of the
advisory Guidelines.2

       1
           However, I will no longer give the Guidelines “substantial weight.”
       2
           See note 1.
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       (2) The defendant’s objection (filings 313 and 380) related to lack of role
reduction, criminal history and lack of safety valve will be resolved at sentencing.

        (3) Except to the extent (if at all) that I have sustained an objection or granted
a motion or reserved an issue for later resolution in the preceding paragraph, the parties
are herewith notified that my tentative findings are that the presentence report is correct
in all respects.

       (4) If any party wishes to challenge these tentative findings, said party shall,
as soon as possible, but in any event at least five (5) business days before sentencing, file
in the court file and serve upon opposing counsel and the court a motion challenging
these tentative findings, supported by (a) such evidentiary materials as are required
(giving due regard to the requirements of the local rules of practice respecting the
submission of evidentiary materials), (b) a brief as to the law and (c) if an evidentiary
hearing is requested, a statement describing why an evidentiary hearing is necessary and
how long such a hearing would take.

        (5) Absent submission of the information required by the preceding paragraph
of this order, my tentative findings may become final and the presentence report may be
adopted and relied upon by me without more.

       (6) Unless otherwise ordered, any motion challenging these tentative findings
shall be resolved at sentencing.

       Dated February 5, 2010.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge



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